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                UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF CONNECTICUT




                                      )
HYBRID ATHLETICS, LLC,                )   Case Action No. 3:17-CV-1767
                                      )
         Plaintiff,                   )   DEFENDANT HYLETE’S REPLY
                                      )   MEMORANDUM OF POINTS
v.
                                      )   AND AUTHORITIES IN
HYLETE LLC,                           )   SUPPORT OF ITS MOTION TO
                                      )   DISMISS HYBRID ATHLETICS,
         Defendant.                   )   LLC’S COMPLAINT OR, IN THE
                                      )   ALTERNATIVE, MOTION TO
                                      )   CHANGE VENUE
                                      )
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                                         I. INTRODUCTION
        Faced with the fact that Plaintiff’s own Complaint alleges that Plaintiff was aware of

Hylete’s alleged infringement since 2012, and that Plaintiff was even aware of numerous

instances of alleged actual confusion since 2013, Plaintiff side-steps the Complaint and instead

responds to Hylete’s motion to dismiss by referencing almost 400 pages of extraneous material.

This is improper. It is well-established that in deciding a motion to dismiss for failure to state a

claim, a court is limited to facts in the complaint and the exhibits attached thereto. 1 See e.g.

Goldman v. Belden, 754 F.2d 1059, 1065–66 (2d Cir. 1985) (“[A] Rule 12(b)(6) motion is

addressed to the face of the pleading.”).

        Based on the Complaint (and the exhibits attached thereto), the statute of limitations and

laches analyses should be measured from April 2012 (or at a minimum mid-2013), not 2015 as

Plaintiff erroneously asserts. Plaintiff is incorrect in its assertion that the limitations period starts

running only when there are a significant number of sales. Time starts running when a plaintiff

has a provable infringement claim, i.e. when there was a likelihood of confusion in the relevant

market. ProFitness Physical Therapy Ctr. v. Pro-Fit Orthopedic & Sports Physical Therapy

P.C., 314 F.3d 62, 70 (2d Cir. 2002). Here, Plaintiff alleges “Hylete’s target consumers are the

same as Hybrid’s” and that Plaintiff was aware, not just of a likelihood of confusion, but of

numerous instances of actual confusion since at least 2013 – over four years before it filed suit.

          Specifically, Plaintiff alleges that: (1) Hylete used the allegedly infringing marks

“extensively since at least April 2012” Doc. No. 1 at ¶60; (2) “In April 2012, Hybrid discovered

Hylete’s plans to promote, advertise, distribute, offer for sale, and sell clothing and apparel”


1
  To the extent the Court is inclined to consider the voluminous, extraneous materials submitted by Plaintiff, Rule
12(d) requires that the Court treat the motion as one for summary judgment under Rule 56, and Hylete must be given
a reasonable opportunity to present all the material that is pertinent to the motion. Fed.R.Civ.P. 12(d); Goldman v.
Belden, 754 F.2d 1059, 1065–66 (2d Cir.1985).



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bearing the accused marks. Doc. No. 1 at ¶61; (3) “Upon such discovery, Hybrid immediately

contacted Hylete objecting to the use of the marks” Doc. No. 1 at ¶62. In addition, in Exhibit 4 to

the Complaint, Plaintiff alleges that: (4) in May 2013, it received 100 emails evidencing actual

confusion and claimed that there were “literally thousands” of instances of actual confusion.

Doc. No. 1-4 at 9. Further, in its opposition, Plaintiff argues that: (5) “Hybrid began becoming

aware of actual confusion in mid-2013.” Doc. No. 28, p. 10; and (6) In March 2013, “Hybrid

was made aware of first sales by Hylete and the first voiced consumer confusion” Id., p.16.

        Accordingly, the statute of limitations and laches analyses should be measured from

April 2012 (or at a minimum mid-2013), not 2015.

        The trademark opposition filed by Plaintiff does not toll the statute of limitations. First,

Plaintiff cites no authority supporting its position that filing a trademark opposition tolls the

statute of limitations for its state law claims.   Second, with respect to Plaintiff’s Lanham Act

claims, the opposition proceeding only involved the Hylete Logo (“          ”), not any of the other

allegedly infringing marks and, as detailed below, Plaintiff falls far short of its burden to show

that equitable tolling applies.

        Laches also bars Plaintiff’s claims. Plaintiff argues that laches is not available because it

asserts that Hylete was guilty of unclean hands. But, apart from the Complaint’s bare legal

conclusion of willful infringement, which is insufficient, nothing in the Complaint demonstrates

an intention to confuse or a lack of good faith. On the contrary, the Complaint shows that there

was no intent to confuse and actually shows a good faith belief of non-infringement. See e.g.,

Doc. No. 1-4, pp. 3, 4, 9.

                                        II. ARGUMENT

        Plaintiff does not dispute that the longest applicable statute of limitations for each of




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Plaintiff’s claims is three years. See generally Doc. No, 28. Because Plaintiff does not dispute

the limitations periods and does not provide any substantive reason for equitable tolling of the

statutes of limitations, this Court should dismiss the claims as time-barred. Further, because

Plaintiff also waited almost three years after the end of the applicable limitations period to bring

suit, laches also bars each of Plaintiff’s claims.

        A.       Plaintiff’s Trademark Claims Must Be Dismissed Because They Are Barred
                 By The Three Year Statute of Limitations; And Equitable Tolling Does Not
                 Apply

                 1.      The Statute of Limitations Is A Separate And Distinct Defense from

                         Laches And Completely Bars Plaintiff’s Claims.

        Plaintiff confuses the bases of Hylete’s motion to dismiss. Hylete seeks dismissal of

Plaintiff’s claims primarily because the statute of limitations on all such claims has run. Laches,

which is also an affirmative defense under Rule 8(c) of the Federal Rules of Civil Procedure, is

separate and distinct from the statute of limitations defense. Petrella v. Metro-Goldwyn-Mayer,

Inc., 134 S. Ct. 1962, 1974, 188 L. Ed. 2d 979 (2014). Plaintiff’s claims are, before all else,

barred under the statute of limitations.

        The Supreme Court has made clear that where Congress did not prescribe a statute of

limitations for a federally created right, courts must apply the most analogous state statute of

limitations. DelCostello v. International Bhd. of Teamsters, 462 U.S. 151, 171-72 (1983); Adler

by Adler v. Educ. Dep't of State of N.Y., 760 F.2d 454, 455 (2d Cir. 1985). Courts may only

decline to apply the most analogous statute when there is a closer analogy in federal law and

when federal policies and practicalities of litigation make such federal law more appropriate.

Reed v. United Transp. Union, 488 U.S. 319, 324, (U.S. 1989). Courts should not “eschew use of

state limitations periods anytime state law fails to provide a perfect analogy.” Ceres Partners v.




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GEL Associates, 918 F.2d 349, 356-58 (2d Cir. 1990) (citing DelCostello, 462 U.S. at 171).

        Following the Supreme Court’s instruction, courts have applied the most analogous state

statutes to determine if Lanham Act claims are time-barred. See e.g., Aoki v. Gilbert, No. 2:11-

CV-02797-TLN-CK, 2014 WL 3689345, at *11 (E.D. Cal. July 23, 2014) (applying California

law); Kusek v. Family Circle, Inc., 894 F. Supp. 522, 531 (D. Mass. 1995) (applying

Massachusetts law); Baby Trend, Inc. v. Playtex Prod., LLC, No. 5:13-CV-647-ODW RZX,

2013 WL 4039451, at *3 (C.D. Cal. Aug. 7, 2013) (applying California law); Polar Bear Prods.,

Inc. v. Timex Corp., 384 F.3d 700, 720 (9th Cir. 2004) (applying Montana law); Gaudreau v.

Am. Promotional Events, Inc., 511 F. Supp. 2d 152, 157 (D.D.C. 2007) (applying D.C. law).

        Because the Lanham Act does not contain a statute of limitations, courts in this district

apply the Connecticut three year-statute of limitations for fraud. Argus Research Grp., Inc. v.

Argus Media, Inc., 562 F. Supp. 2d 260, 273 (D. Conn. 2008). Construing the Complaint in the

light most favorable to Plaintiff, it is clear here that the three-year statute of limitations for fraud

applies to Plaintiff’s Lanham Act claims. The limitations period also applies to the common law

trademark infringement claims. See CSL Silicones Inc. v. Midsun Grp. Inc., 170 F. Supp. 3d 304

(D. Conn. 2016), reconsideration denied, No. 3:14-CV-01897 (CSH), 2016 WL 3566188 (D.

Conn. June 27, 2016)(“CSL”). As detailed above, Plaintiff learned of the infringing conduct as

early as April 2012. The claims accrued then. See RBC Nice Bearings, Inc. v. Peer Bearing Co.,

410 F. App'x 362, 367 (2d Cir. 2010) (claims accrue at first instance of purported infringement

plaintiff was aware of). Plaintiff did not file suit within the three year-statute of limitations, i.e.

before April 2015.

        Plaintiff’s avoidance of the limitations issue appears to be a concession of the defect in its

time-barred claims. Concededly, many courts in this district have addressed only laches.




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However, whether by happenstance or specific litigation strategy, those cases reveal that the

subject of the disputes was laches or other subject matter – not the statute of limitations as a

distinctly asserted defense. See e.g., Argus Research Grp., Inc. v. Argus Media, Inc., 562 F.

Supp. 2d 260, 272 (D. Conn. 2008) (addressing “laches and acquiescence” – the “only” bases on

which summary judgment was sought); RBC Nice Bearings, Inc. v. Peer Bearing Co., 676 F.

Supp. 2d 9, 24 (D. Conn. 2009), aff'd, 410 F. App'x 362 (2d Cir. 2010) (addressing defendant’s

only asserted ground for summary judgment – laches); CSL Silicones, 170 F. Supp. 3d at 315 (D.

Conn. 2016), reconsideration denied, No. 3:14-CV-01897 (CSH), 2016 WL 3566188 (D. Conn.

June 27, 2016) (addressing the issue of whether Lanham Act laches arguments are subsumed by

CUTPA’s three year statute of limitations.); Fed. Treasury Enter. Sojuzplodoimport v. Spirits

Int'l B.V., 809 F.3d 737, 746 (2d Cir.), cert. denied, 137 S. Ct. 160, 196 L. Ed. 2d 121 (2016)

(finding that laches did not apply to claims that were initially brought within six year limitations

period because they were timely when initially brought).

        Importantly, these courts did not consider a properly raised statute of limitation defense,

and therefore did not divert from DelCostello and Reed – which require courts adjudicating

federally created rights to apply the most analogous state statutes of limitations. Here, Plaintiff

filed suit in October 2017 – two years and six months after the limitations period ended.

Applying the appropriate three-year limitations period, whether measured from April 2012 or

May 2013, leads to only one conclusion – that Plaintiff’s claims are time-barred.


                 2.     The Sparingly-applied Equitable Tolling Doctrine Does Not Apply to

                        Plaintiff’s Claims For Trademark Infringement And Is Not Pleaded In

                        The Complaint.

        A party seeking equitable tolling has the burden of establishing that it applies. Credit




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Suisse Sec. (USA) LLC v. Simmonds, 566 U.S. 221, 227 (2012) “The decision whether to

equitably toll a statute of limitations is left to the sound discretion of the Court[.]” Kregos v.

Associated Press, 3 F.3d 656, 661 (2d Cir. 1993). In applying equitable principles, courts “must

be governed by rules and precedents no less than the courts of law.” See Lonchar v. Thomas, 517

U.S. 314, 323 (1996). Where a claimant has not vigilantly pursued its rights, courts are reluctant

to apply equitable tolling. Irwin v. Dep't of Veterans Affairs, 498 U.S. 89, 96, 111 S. Ct. 453, 457

(1990). In private litigation, federal courts apply tolling only sparingly. Id. Tolling only applies

where a claimant has diligently pursued judicial remedies by filing a pleading, which is defective

or where the claimant has been tricked or deceived by the defendant such that the limitations

period passes. Id. Here, even taking the Complaint and the attached exhibits as true with all

inferences in Plaintiff’s favor, it is apparent that equitable tolling has no place in this action.

        First, Plaintiff did not file a trademark infringement pleading, let alone a defective one,

within the applicable time period. Plaintiff concedes this. Doc. No. 28, p. 17 (“Hybrid also

notes that the present suit would have been brought much sooner[.]”). Plaintiff was aware of the

alleged infringement since at least April of 2012. Doc. No. 1, ¶¶61, 60, 59, 49, 62, 63, 73, 96;

Doc. No. 28, p. 16. Plaintiff also argues that it was “made aware of first sales by Hylete” in

“March 2013.” Doc. No. 28, p. 16; and that it was aware of “literally thousands” of instances of

actual confusion in May 2013. Doc. No. 1-4, p. 9. Plaintiff’s choice not to sue for trademark

infringement within the limitations period bars its claims.

        Second, the opposition proceeding instituted by Plaintiff is not a trademark infringement

proceeding. Topp-Cola Co. v. Coca-Cola Co., 314 F.2d 124, 126 (2d Cir. 1963) (“the filing of

an opposition … is not by itself a charge or warning of a future charge of infringement.”). The

TTAB is an administrative agency and does not “determine the right to use” a trademark or




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“decide broader questions of infringement or unfair competition” - only the rights to register a

mark. See Trademark Manual of Procedure § 102.01 (2014). Plaintiff’s opposition at the TTAB

therefore had nothing to do with its trademark infringement claims and, in any event, was limited

to the Hylete Logo (“     ”), not any of the other accused marks. Plaintiff also argues repeatedly

that because of the preclusive effect enunciated in B & B Hardware, Inc. v. Hargis Indus., Inc.,

135 S. Ct. 1293, 191 L. Ed. 2d 222 (2015), its decision to forego pursuing a trademark

infringement action in district court was worthwhile and thereby tolled the limitations period. See

Doc. No. 28, pp., 1316, 20. But, B & B Hardware does not stand for the proposition, even

mildly, that opposition proceedings toll the applicable Lanham Act statutes of limitations.

        Third, Plaintiff did not plead any tolling of time in its Complaint. In spite of knowledge

of use of the mark, and Plaintiff’s purported knowledge of “literally thousands” of instances of

actual confusion by at least May 2013, Plaintiff did not file suit until October 2017. Although

Plaintiff could have filed this suit much earlier, Plaintiff chose not to and chose to delay the

filing of a trademark infringement pleading until its opposition proceeding was completed.

Plaintiff even explains its strategy for the delay – to discover Hylete’s detailed sales information.

        But Plaintiff misperceives the grounds necessary to invoke equitable tolling. A plaintiff’s

strategic or misinformed decision to pursue alternative relief does not warrant tolling. See

Baldwin County Welcome Ctr. v. Brown, 466 U.S. 147, 151 (1984) (per curiam) (filing of the

“right to sue letter” rather than the complaint did not toll the 90–day period). Carter v. Brennan,

No. 3:14CV10 JBA, 2015 WL 2089689, at *2 (D. Conn. May 4, 2015), aff'd, 667 F. App'x 349

(2d Cir. 2016) (choice to pursue arbitration did not toll 45-day period to initiate proceedings at

Equal Employment Opportunity Commission). The essence of the equitable tolling doctrine “is

that a statute of limitations does not run against a plaintiff who is unaware of his cause of




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action.” Long v. Abbott Mortgage Corp., 459 F.Supp. 108, 113 (D.Conn. 1978). “[L]imitations

periods are designed to protect parties from suits commenced late for strategic purposes.” Long

v. Card, 882 F. Supp. 1285, 1288 (E.D.N.Y. 1995).

        Here, Plaintiff candidly admits that it commenced the opposition proceeding for strategic

purposes before eventually pursuing an infringement action. Doc. No. 28, p. 20. (“Hybrid chose

to first bring an opposition proceeding …to discover Hylete’s sales … and to eventually bring

the favorable decision to district court.”). But this is the ill-informed gamesmanship that does not

toll limitations periods. To invoke tolling, a party must show diligence and that circumstances

prevented them from pursuing their rights. Zerilli–Edelglass v. N.Y. City Transit Auth., 333 F.3d

74, 80–81 (2d Cir. 2003). Plaintiff’s strategic decisions to delay filing suit do not demonstrate

either. Moreover, Plaintiff does not allege any concealment. Indeed, Plaintiff alleges that it was

aware of actual infringement by at least May 2013. The facts in the Complaint underscore

Plaintiff’s admission that it intentionally delayed filing its suit for strategic purposes. Tolling

does not apply.


        B.       Plaintiff’s CUTPA Claim And The Unjust Enrichment Claim Must Be
                 Dismissed Because They Are Barred By The Three Year Statute of
                 Limitations And Other Defects

        Plaintiff does not cite to any authority supporting its position that filing a trademark

opposition tolls the statute of limitations for its state law claims. Plaintiff also does not address

the preemption of its CUTPA claim as alleged. Further, in spite of its generalized reference to

various allegations (Doc. No. 28, p. 24), Plaintiff fails to point to any specific allegation that

shows classic passing off as alleged under the claim. Because the strict CUTPA statute of

limitations bars Plaintiff’s claim, Plaintiff’s other arguments are surplusage.

        With respect to Plaintiff’s unjust enrichment claims, although trial courts are not bound to



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mechanically apply limitations periods for equitable claims, the claims can fail where they

substantively rely on time-barred legal claims. See e.g., Dolmetta v. Uintah Nat. Corp., 712 F.2d

15, 20 (2d Cir. 1983) (unjust enrichment claim barred because the legal claims it was based on

were time barred). Because Plaintiff’s unjust enrichment claim relies on the time-barred

trademark infringement claims, it is also time-barred.


        C.       All of Plaintiff’s Claims Are Also Barred Under The Doctrine Of Laches
                 Because Plaintiff Waited Almost Three Years After the Relevant Limitations
                 Period To File Suit

        Even when proceeding under the separate equitable laches defense, each of Plaintiff’s

claims is barred for the aforementioned reasons. This is especially so because Plaintiff does not

substantively argue or prove that the claims accrued any later than April 2012.

        Also, while Plaintiff argues about Hylete’s “unclean hands”, its own Complaint

demonstrates the contrary. At best, the Complaint merely alleges that Hylete had knowledge of

Plaintiff’s marks. This is insufficient. The “intentional infringement” required for an unclean

hands finding is an “intention to confuse” and a lack of “good faith.” Harley-Davidson, Inc. v.

Grottanelli, 164 F.3d 806, 813 (2d Cir. 1999). Apart from the Complaint’s bare legal conclusion

of willful infringement, which is insufficient, nothing in the Complaint demonstrates an intention

to confuse or a lack of good faith. See Smith v. Local 819 I.B.T. Pension Plan, 291 F.3d 236,

240 (2d Cir.2002) (“[C]onclusory allegations or legal conclusions masquerading as factual

conclusions will not suffice to prevent a motion to dismiss” from being granted).

        On the contrary, the Complaint (and exhibits attached thereto) show that there was no

intent to confuse and that Hylete actually had a good faith belief of non-infringement. See e.g.,

Doc. No. 1-4, pp.3, 4 (Hylete explaining the HYLETE mark was simply a condensed “Hybrid

Athlete” that Hylete had been using for a long time; Hylete also said they were not trying to copy



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anything from Plaintiff and even invited Plaintiff’s input on its products). Indeed, the same

document shows Hylete’s good faith belief that Hylete was not trying to trade on Plaintiff’s

goodwill and Hylete had a good faith belief the logos were not confusingly similar – especially

in light of the number of other “H” logos on the market. Doc. No. 1-4, p.9.

        Plaintiff’s decision to wait and see detailed sales figures is exactly why Plaintiff cannot

prevail. It is not equitable for a “well-informed merchant with knowledge of a claimed invasion

of right, to wait to see how successful his competitor will be and then destroy with the aid of a

court decree[.]” Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492, 498 (2d Cir. 1961).

While not required to file suit at first suspicion, Plaintiff was required to file suit within the

limitations period as soon as it was aware of any provable infringing conduct, i.e. when it

became aware of a likelihood of confusion or actual confusion. ProFitness, 314 F.3d at 70. The

Complaint alleges Plaintiff’s awareness of the accused marks and of instances of actual

confusion since April 2012 and by latest May 2013. Waiting until October 2017 to file suit is

unreasonable. Laches applies and, consequently, Plaintiff cannot prevail on any of its claims.

        D.       Transfer to The Southern District Is Appropriate Especially Because It Is
                 The Locus Of Operative Facts

        The locus of operative facts for trademark infringement action is where the

misrepresentation occurs, not where it is received. Also Plaintiff does not identify the “many

witnesses” it claims are located in Connecticut. An analysis of Plaintiff’s other arguments reveals

that they are either concessions of neutrality or unsupported factual assertions.

                                      III. CONCLUSION

        The three year statute of limitations bars and the separate doctrine of laches bar all of

Plaintiff’s claims and they should be dismissed with prejudice.




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                                      Respectfully Submitted,



DATED: February 2, 2018               /s/ Dave Deonarine
                                      Dave Deonarine, phv09386
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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

                              CERTIFICATE OF SERVICE


                                                    )
HYBRID ATHLETICS, LLC,                              ) Case Action No. 3:17-CV-1767
                                                    )
                 Plaintiff,
                                                    )
v.                                                  )
                                                    )
HYLETE LLC,                                         )
                                                    )
                 Defendant.                         )

                                                    )
                                                    )
                                                    )
                                                    )
                                                    )

I hereby certify that on February 2, 2018, a copy of the foregoing DEFENDANT HYLETE’S
REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS
MOTION TO DISMISS HYBRID ATHLETICS, LLC’S COMPLAINT OR, IN THE
ALTERNATIVE, MOTION TO CHANGE VENUE, was filed electronically. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electornic filing system.
Parties may access this filing through the Court’s CM/ECF System.

                                                 /s/ Dave Deonarine
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